Case 8:20-cv-01500-SB-KES Document 54 Filed 09/18/20 Page 1 of 17 Page ID #:1782




  1

  2

  3

  4

  5

  6

  7

  8                          UNITED STATES DISTRICT COURT
  9                         CENTRAL DISTRICT OF CALIFORNIA
 10                                 SOUTHERN DIVISION
 11
        CORELOGIC SOLUTIONS, LLC, a
 12     California limited liability company;   Case No. 8:20-cv-01500-CJC (KESx)
        and MARSHALL &
 13     SWIFT/BOECKH, LLC, a Delaware           ORDER RE
        limited liability company,              STIPULATED PROTECTIVE
 14                                             ORDER
                    Plaintiff,
 15           vs.
 16     GEOSPAN CORPORATION, a
        Minnesota corporation; ANDREW
 17     ZICKELL, an individual; SUSAN
        WILLIAMS, an individual; and
 18     ROBERT MONACO, and individual;
        and DOES 1 through 10, inclusive,
 19
                    Defendants.
 20

 21

 22

 23

 24

 25

 26

 27

 28
Case 8:20-cv-01500-SB-KES Document 54 Filed 09/18/20 Page 2 of 17 Page ID #:1783




  1   1.    PURPOSES AND LIMITATIONS OF THIS ORDER
  2         Discovery activity in this action is likely to involve production of confidential,
  3   proprietary, or private information requiring special protection from public disclosure
  4   and from use for any purpose other than prosecuting this litigation. Accordingly, the
  5   parties hereby stipulate to and petition the court to enter the following Stipulated
  6   Protective Order. This Order does not confer blanket protections on all disclosures or
  7   responses to discovery, and the protection it affords from public disclosure and use
  8   extends only to the specific material entitled to confidential treatment under the
  9   applicable legal principles. This Order does not automatically authorize the filing
 10   under seal of material designated under this Order. Instead, the parties must comply
 11   with L.R. 79-5.1 et seq. if they seek to file anything under seal. This Order does not
 12   govern the use at trial of material designated under this Order.
 13         GOOD CAUSE STATEMENT
 14         This action is likely to involve highly confidential information and/or trade
 15   secrets, including but not limited to customer lists and other valuable research,
 16   attorney client communication and opinions, development, commercial, financial,
 17   technical and/or proprietary information for which special protection from public
 18   disclosure and from use for any purpose other than prosecution of this action is
 19   warranted. Such confidential and proprietary materials and information consist of,
 20   among other things, confidential business or financial information, information
 21   regarding confidential business practices, or other confidential research, development,
 22   or commercial information (including information implicating privacy rights of third
 23   parties), information otherwise generally unavailable to the public, or which may be
 24   privileged or otherwise protected from disclosure under state or federal statutes, court
 25   rules, case decisions, or common law. Accordingly, to expedite the flow of
 26   information, to facilitate the prompt resolution of disputes over confidentiality of
 27   discovery materials, to adequately protect information the parties are entitled to keep
 28   confidential, to ensure that the parties are permitted reasonable necessary uses of such
                                                 2
Case 8:20-cv-01500-SB-KES Document 54 Filed 09/18/20 Page 3 of 17 Page ID #:1784




  1   material in preparation for and in the conduct of trial, to address their handling at the
  2   end of the litigation, and serve the ends of justice, a protective order for such
  3   information is justified in this matter. It is the intent of the parties that information
  4   will not be designated as confidential for tactical reasons and that nothing be so
  5   designated without a good faith belief that it has been maintained in a confidential,
  6   non-public manner, and there is good cause why it should not be part of the public
  7   record of this case.
  8   2.    DEFINITIONS
  9         2.1    Challenging Party: a Party or Non-Party that challenges the designation
 10   of information or items under this Order.
 11         2.2    “CONFIDENTIAL” Information or Items: information (regardless of
 12   how it is generated, stored or maintained) or tangible things that qualify for protection
 13   under Federal Rule of Civil Procedure 26(c).
 14         2.3    Counsel (without qualifier): Outside Counsel of Record and House
 15   Counsel (as well as their support staff).
 16         2.4    Designating Party: a Party or Non-Party that designates information or
 17   items that it produces in disclosures or in responses to discovery as
 18   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
 19   ONLY.”
 20         2.5    Disclosure or Discovery Material: all items or information, regardless
 21   of the medium or manner in which it is generated, stored, or maintained (including,
 22   among other things, testimony, transcripts, and tangible things), that are produced or
 23   generated in disclosures or responses to discovery in this matter.
 24         2.6    Expert: a person with specialized knowledge or experience in a matter
 25   pertinent to the litigation who has been retained by a Party or its counsel to serve as an
 26   expert witness or as a consultant in this action.
 27         2.7    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
 28   Information or Items: extremely sensitive “Confidential Information or Items,”
                                                  3
Case 8:20-cv-01500-SB-KES Document 54 Filed 09/18/20 Page 4 of 17 Page ID #:1785




  1   disclosure of which to another Party or Non-Party would create a substantial risk of
  2   serious harm that could not be avoided by less restrictive means
  3         2.8    House Counsel: attorneys who are employees of a party to this action.
  4   House Counsel does not include Outside Counsel of Record or any other outside
  5   counsel.
  6         2.8    Non-Party: any natural person, partnership, corporation, association, or
  7   other legal entity not named as a Party to this action.
  8         2.9    Outside Counsel of Record: attorneys who are not employees of a party
  9   to this action but are retained to represent or advise a party to this action and have
 10   appeared in this action on behalf of that party or are affiliated with a law firm which
 11   has appeared on behalf of that party.
 12         2.10 Party: any party to this action, including all of its officers, directors,
 13   employees, consultants, retained experts, and Outside Counsel of Record (and their
 14   support staffs).
 15         2.11 Producing Party: a Party or Non-Party that produces Disclosure or
 16   Discovery Material in this action.
 17         2.12 Professional Vendors: persons or entities that provide litigation support
 18   services (e.g., photocopying, videotaping, translating, preparing exhibits, jury
 19   consultation services or demonstrations, and organizing, storing, or retrieving data in
 20   any form or medium) and their employees and subcontractors.
 21         2.13 Protected Material: any Disclosure or Discovery Material that is
 22   designated as “CONFIDENTIAL” or as “HIGHLY CONFIDENTIAL –
 23   ATTORNEYS’ EYES ONLY.” Plaintiffs have designated the exhibits which were
 24   filed under seal in connection with Plaintiffs’ Ex Parte Application for Temporary
 25   Restraining Order and Order to Show Cause Re Issuance of Preliminary Injunction as
 26   Protected Material under this paragraph and as Highly Confidential--Attorney Eyes
 27   Only under paragraph 2.7 above.
 28         2.14 Receiving Party: a Party that receives Disclosure or Discovery Material
                                                  4
Case 8:20-cv-01500-SB-KES Document 54 Filed 09/18/20 Page 5 of 17 Page ID #:1786




  1   from a Producing Party.
  2   3.    SCOPE
  3         The protections conferred by this Stipulation and Order cover not only
  4   Protected Material (as defined above), but also (1) any information copied or extracted
  5   from Protected Material; (2) all copies, excerpts, summaries, or compilations of
  6   Protected Material; and (3) any testimony, conversations, or presentations by Parties
  7   or their Counsel that might reveal Protected Material. However, the protections
  8   conferred by this Stipulation and Order do not cover the following information: (a)
  9   any information that is in the public domain at the time of disclosure to a Receiving
 10   Party or becomes part of the public domain after its disclosure to a Receiving Party as
 11   a result of publication not involving a violation of this Order, including becoming part
 12   of the public record through trial or otherwise; and (b) any information known to the
 13   Receiving Party prior to the disclosure or obtained by the Receiving Party after the
 14   disclosure from a source who obtained the information and is currently in possession
 15   of the information lawfully and under no obligation of confidentiality to the
 16   Designating Party. Any use of Protected Material at trial shall be governed by a
 17   separate agreement or order.
 18   4.    DURATION
 19         Even after final disposition of this litigation, the confidentiality obligations
 20   imposed by this Order shall remain in effect until a Designating Party agrees
 21   otherwise in writing or a court order otherwise directs. Final disposition shall be
 22   deemed to be the later of (1) dismissal of all claims and defenses in this action, with or
 23   without prejudice; and (2) final judgment herein after the completion and exhaustion
 24   of all appeals, rehearings, remands, trials, or reviews of this action, including the time
 25   limits for filing any motions or applications for extension of time pursuant to
 26   applicable law.
 27   5.    DESIGNATING PROTECTED MATERIAL
 28         5.1    Over-Designation Prohibited. Any Designating Party who designates
                                                 5
Case 8:20-cv-01500-SB-KES Document 54 Filed 09/18/20 Page 6 of 17 Page ID #:1787




  1   information or items for protection under this Order as “CONFIDENTIAL” or
  2   “HIGHLY CONFIDENTIAL – ATTORNEY EYES ONLY” must only designate
  3   specific material that qualifies under the appropriate standards. To the extent
  4   practicable, only those parts of documents, items, or oral or written communications
  5   that require protection shall be designated.
  6         Designations with a higher confidentiality level when a lower level would
  7   suffice are prohibited. Mass, indiscriminate, or routinized designations are prohibited.
  8         Unjustified designations expose the Designating Party to sanctions, including
  9   the Court’s striking all confidentiality designations made by that Designating Party.
 10   Designation under this Order is allowed only if the designation is necessary to protect
 11   material that, if disclosed to persons not authorized to view it, would cause
 12   competitive or other recognized harm. Material may not be designated if it has been
 13   made public, or if designation is otherwise unnecessary to protect a secrecy interest.
 14   If a Designating Party learns that information or items that it designated for protection
 15   do not qualify for protection at all or do not qualify for the level of protection initially
 16   asserted, that Designating Party must promptly notify all parties that it is withdrawing
 17   the mistaken designation.
 18         5.2    Manner and Timing of Designations. Designation under this Order
 19   requires the Designating Party to affix the applicable legend (“CONFIDENTIAL” or
 20   “HIGHLY CONFIDENTIAL – ATTORNEY EYES ONLY”) to each page that
 21   contains protected material. For testimony given in deposition or other proceeding,
 22   the Designating Party shall specify all protected testimony and the level of protection
 23   being asserted. It may make that designation during the deposition or proceeding, or
 24   may invoke, on the record or by written notice to all parties on or before the next
 25   business day, a right to have up to 21 days from receipt of the final transcript of the
 26   deposition or proceeding to make its designation.
 27                5.2.1 A party or non-party that makes original documents or materials
 28   available for inspection need not designate them for protection until after the
                                                  6
Case 8:20-cv-01500-SB-KES Document 54 Filed 09/18/20 Page 7 of 17 Page ID #:1788




  1   inspecting party has identified which material it would like copied and produced.
  2   During the inspection and before the designation, all material shall be treated as
  3   HIGHLY CONFIDENTIAL – ATTORNEY EYES ONLY. After the inspecting
  4   party has identified the documents it wants copied and produced, the producing
  5   party must designate the documents, or portions thereof, that qualify for protection
  6   under this Order.
  7                 5.2.2 Parties shall give advance notice if they expect a deposition or
  8   other proceeding to include designated material so that the other parties can ensure
  9   that only authorized individuals are present at those proceedings when such material
 10   is disclosed or used. The use of a document as an exhibit at a deposition shall not in
 11   any way affect its designation. Transcripts containing designated material shall
 12   have a legend on the title page noting the presence of designated material, and the
 13   title page shall be followed by a list of all pages (including line numbers as
 14   appropriate) that have been designated, and the level of protection being asserted.
 15   The Designating Party shall inform the court reporter of these requirements. Any
 16   transcript that is prepared before the expiration of the 21-day period for designation
 17   shall be treated during that period as if it had been designated HIGHLY
 18   CONFIDENTIAL – ATTORNEY EYES ONLY unless otherwise agreed. After the
 19   expiration of the 21-day period, the transcript shall be treated only as actually
 20   designated.
 21         5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent
 22   failure to designate qualified information or items does not, standing alone, waive the
 23   Designating Party’s right to secure protection under this Order for such material.
 24   Upon timely correction of a designation, the Receiving Party must make reasonable
 25   efforts to assure that the material is treated in accordance with the provisions of this
 26   Order.
 27   6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
 28         All challenges to confidentiality designations shall proceed under L.R. 37-1
                                                  7
Case 8:20-cv-01500-SB-KES Document 54 Filed 09/18/20 Page 8 of 17 Page ID #:1789




  1   through L.R. 37-4. A party shall not be obligated to challenge the propriety of a
  2   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL—ATTORNEY EYES ONLY”
  3   designation at the time made, and failure to do so shall not preclude a subsequent
  4   challenge thereto during the pendency of this litigation. If the Parties cannot resolve a
  5   challenge without court intervention, the burden of persuasion with respect to the level
  6   of confidentiality of the Protected Material in any such challenge proceeding shall be
  7   on the Designating Party.
  8   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
  9         7.1      Basic Principles. A Receiving Party may use Protected Material only for
 10   this litigation. Such Protected Material may be disclosed only to the categories of
 11   persons and under the conditions described in this Order.
 12         7.2      Disclosure of “CONFIDENTIAL” Material. Unless otherwise ordered
 13   by the court or permitted in writing by the Designating Party, a Receiving Party may
 14   disclose any information or item designated “CONFIDENTIAL” only to:
 15               7.2.1    The Receiving Party’s Outside Counsel of Record in this action
 16   and employees of Outside Counsel of Record to whom disclosure is reasonably
 17   necessary;
 18               7.2.2    The Receiving Party and officers, directors, and employees of the
 19   Receiving Party to whom disclosure is reasonably necessary, and who have signed the
 20   Agreement to Be Bound (Exhibit A);
 21               7.2.3    Experts retained by the Receiving Party’s Outside Counsel of
 22   Record to whom disclosure is reasonably necessary, and who have signed the
 23   Agreement to Be Bound (Exhibit A);
 24               7.2.4    The Court and its personnel;
 25               7.2.5    Outside court reporters and their staff;
 26               7.2.6    Professional jury or trial consultants, and professional vendors to
 27   whom disclosure is reasonably necessary, and who have signed the Agreement to Be
 28   Bound (Exhibit A);
                                                  8
Case 8:20-cv-01500-SB-KES Document 54 Filed 09/18/20 Page 9 of 17 Page ID #:1790




  1               7.2.7    During their depositions, witnesses in the action to whom
  2   disclosure is reasonably necessary, who have signed the Agreement to Be Bound
  3   (Exhibit A), and who have agreed to the disclosure, without prejudice to the
  4   Designating Party contending that such disclosure is unnecessary for the purpose of
  5   the litigation and limiting access in whole or in part; and
  6               7.2.8    The author or recipient of a document containing the material, or a
  7   custodian or other person who otherwise possessed or knew the information without
  8   prejudice to the Designating Party contending that such disclosure is unnecessary for
  9   the purpose of the litigation and limiting access in whole or in part.
 10            7.2.9       To the extent that the (i) witness’s refusal to satisfy the
 11   conditions to viewing the Confidential Material or (ii) Designating Party’s
 12   objections to disclosure prevent the material from being shown to the witness,
 13   counsel for the Parties shall meet and confer to attempt to resolve the disputes.
 14   Matters which cannot be resolved will be resolved through the procedures set forth
 15   in L.R. 37-1 through 37-4 and paragraph 12 of this Order, as appropriate.
 16         7.3      Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEY EYES
 17   ONLY” Material: Unless permitted in writing by the Designating Party, a
 18   Receiving Party may disclose material designated HIGHLY CONFIDENTIAL –
 19   ATTORNEY EYES ONLY without further approval only to:
 20                  7.3.1 The Receiving Party’s Outside Counsel of Record in this action
 21   and employees of Outside Counsel of Record to whom it is reasonably necessary to
 22   disclose the information although it is acknowledged that the Designating Party
 23   retains the right to request additional limitations or protections with respect to
 24   certain Protected Material including provisional patent applications and attorney-
 25   client privileged patent communications and, if the Parties cannot agree, to seek
 26   such additional protections under paragraph 12 below;
 27                  7.3.2 The Court and its personnel;
 28                  7.3.3 Outside court reporters and their staff;
                                                   9
Case 8:20-cv-01500-SB-KES Document 54 Filed 09/18/20 Page 10 of 17 Page ID #:1791




  1                 7.3.4 Professional jury or trial consultants, and professional vendors to
  2    whom disclosure is reasonably necessary, and who have signed the Agreement to Be
  3    Bound (Exhibit A); and
  4                 7.3.5 The author or recipient of a document containing the material, or
  5    a custodian or other person who otherwise possessed or knew the information, but
  6    only in the following manner: Outside Counsel of Record shall be entitled to
  7    present to those persons qualifying under this paragraph the documents they
  8    authored or received or otherwise possessed prior to the filing of this action, so long
  9    as the presentment is either in person or by shared computer screen and does not
 10    include providing a separate copy, hard copy or electronic, to the persons qualifying
 11    under this paragraph. Screenshots or other means of saving or reproduction of the
 12    material for the person’s possession are not permitted. In the case of deposition
 13    exhibits containing material, the exhibits will be marked and segregated as provided
 14    in this Order but the marked exhibits containing the material shall be maintained by
 15    Outside Counsel of Record and shall not be communicated in hard copy or
 16    electronic form to the persons qualifying under this paragraph without the
 17    permission of the Designating Party or order of the Court.
 18          7.4    Procedures for Approving or Objecting to Disclosure of HIGHLY
 19    CONFIDENTIAL – ATTORNEY EYES ONLY Material to In-House Counsel
 20    or Experts. Unless agreed to in writing by the Designating Party:
 21                 7.4.1 A party seeking to disclose to in-house counsel any material
 22    designated HIGHLY CONFIDENTIAL – ATTORNEY EYES ONLY must first
 23    make a written request to the Designating Party providing the full name of the in-
 24    house counsel, the city and state of such counsel’s residence, and such counsel’s
 25    current and reasonably foreseeable future primary job duties and responsibilities in
 26    sufficient detail to determine present or potential involvement in any competitive
 27    decision-making. Unless the in-house counsel has signed the Agreement to Be
 28    Bound (Exhibit A) pursuant to paragraph 7.2.2, the in-house counsel must sign the
                                                 10
Case 8:20-cv-01500-SB-KES Document 54 Filed 09/18/20 Page 11 of 17 Page ID #:1792




  1    Agreement to Be Bound (Exhibit A) prior to disclosure. The Designating Party
  2    retains the right to request additional limitations or protections with respect to
  3    certain Protected Material designated HIGHLY CONFIDENTIAL—ATTORNEY
  4    EYES ONLY including provisional patent applications and attorney-client
  5    privileged patent communications and, if the Parties cannot agree, to seek such
  6    additional protections under paragraph 12 below.
  7                 7.4.2 A party seeking to disclose to an expert retained by Outside
  8    Counsel of Record any information or item that has been designated HIGHLY
  9    CONFIDENTIAL – ATTORNEY EYES ONLY must first make a written request to
 10    the Designating Party that (1) identifies the general subject matter area where the
 11    expert’s participation is required; (2) sets forth the full name of the expert and the
 12    city and state of his or her primary residence, (3) attaches a copy of the expert’s
 13    current resume, (4) identifies the expert’s current employer(s) and (5) identifies (by
 14    name and number of the case, filing date, and location of court) any litigation where
 15    the expert has offered expert testimony, including by declaration, report, or
 16    testimony at deposition or trial, in the past five years. If the expert believes any of
 17    this information at (4) - (5) is subject to a confidentiality obligation to a third party,
 18    then the expert should provide whatever information the expert believes can be
 19    disclosed without violating any confidentiality agreements, and the party seeking to
 20    disclose the information to the expert shall be available to meet and confer with the
 21    Designating Party regarding any such confidentiality obligations. Unless the expert
 22    has signed the Agreement to Be Bound (Exhibit A) pursuant to paragraph 7.2.3, the
 23    expert must sign the Agreement to Be Bound (Exhibit A) prior to disclosure under
 24    this paragraph.
 25          7.4.3 A party that makes a request and provides the information specified in
 26    paragraphs 7.4.1 or 7.4.2 may disclose the designated material to the identified in-
 27    house counsel or expert unless, within seven days of delivering the request, the party
 28    receives a written objection from the Designating Party providing detailed grounds
                                                   11
Case 8:20-cv-01500-SB-KES Document 54 Filed 09/18/20 Page 12 of 17 Page ID #:1793




  1    for the objection.
  2                    7.4.4 All challenges to objections from the Designating Party under
  3    7.4.3 to the anticipated disclosure of HIGHLY CONFIDENTIAL—ATTORNEY
  4    EYES only material shall proceed under L.R. 37-1 through L.R. 37-4 or paragraph
  5    12 of this Order, as appropriate.
  6    8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
  7          IN OTHER LITIGATION
  8          If a Party is served with a subpoena or a court order issued in other litigation
  9    that compels disclosure of any information or items designated in this action as
 10    “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
 11    ONLY” that Party must:
 12              8.1         Promptly notify in writing the Designating Party. Such
 13    notification shall include a copy of the subpoena or court order;
 14              8.2         Promptly notify in writing the party who caused the subpoena
 15    or order to issue in the other litigation that some or all of the material covered by the
 16    subpoena or order is subject to this Protective Order. Such notification shall include a
 17    copy of this Stipulated Protective Order; and
 18              8.3         Cooperate with respect to all reasonable procedures sought to
 19    be pursued by the Designating Party whose Protected Material may be affected.
 20          If the Designating Party timely seeks a protective order, the Party served with
 21    the subpoena or court order shall not produce any information designated in this
 22    action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
 23    EYES ONLY” before a determination by the court from which the subpoena or order
 24    issued, unless the Party has obtained the Designating Party’s permission. The
 25    Designating Party shall bear the burden and expense of seeking protection in that
 26    court of its confidential material – and nothing in these provisions should be construed
 27    as authorizing or encouraging a Receiving Party in this action to disobey a lawful
 28    directive from another court.
                                                  12
Case 8:20-cv-01500-SB-KES Document 54 Filed 09/18/20 Page 13 of 17 Page ID #:1794




  1    9.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
  2          If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
  3    Protected Material to any person or in any circumstance not authorized under this
  4    Stipulated Protective Order, the Receiving Party must immediately (a) notify in
  5    writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
  6    to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
  7    persons to whom unauthorized disclosures were made of all the terms of this Order,
  8    and (d) request such person or persons to execute the “Acknowledgment and
  9    Agreement to Be Bound” that is attached hereto as Exhibit A.
 10    10.   FILING UNDER SEAL
 11          Without written permission from the Designating Party or a Court order, a party
 12    may not file in the public record in this action any designated material. A party
 13    seeking to file under seal any designated material must comply with L.R. 79-5.1 et
 14    seq. Filings may be made under seal only pursuant to a court order authorizing the
 15    sealing of the specific material at issue. The fact that a document has been designated
 16    under this Order is insufficient to justify filing under seal. Instead, parties must
 17    explain the basis for confidentiality of each document sought to be filed under seal.
 18    Because a party other than the Designating Party will often be seeking to file
 19    designated material, cooperation between the parties in preparing, and in reducing the
 20    number and extent of, requests for under seal filing is essential. If a Receiving Party’s
 21    request to file designated material under seal pursuant to L.R. 79-5.1 et seq. is denied
 22    by the Court, then the Receiving Party may file the material in the public record unless
 23    (1) the Designating Party seeks reconsideration within four days of the denial, or (2)
 24    as otherwise instructed by the Court.
 25    11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 26          PROTECTED MATERIAL
 27          When a Producing Party gives notice to Receiving Parties that certain
 28    inadvertently produced material is subject to a claim of privilege or other protection,
                                                  13
Case 8:20-cv-01500-SB-KES Document 54 Filed 09/18/20 Page 14 of 17 Page ID #:1795




  1    the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
  2    Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
  3    may be established in an e-discovery order that provides for production without prior
  4    privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
  5    parties reach an agreement on the effect of disclosure of a communication or
  6    information covered by the attorney-client privilege or work product protection, the
  7    parties may incorporate their agreement in the stipulated protective order submitted to
  8    the court.
  9    12.    MISCELLANEOUS
 10                 12.1   Right to Further Relief: This Protective Order is without
 11    prejudice to the right of any party to seek relief from the Court, upon good cause
 12    shown, from any of the provisions contained in this Protective Order. The Court
 13    retains jurisdiction to make any amendments, modifications and additions to this
 14    Protective Order as it may from time to time deem appropriate.
 15                 12.2   Right to Assert Other Objections: The procedures set forth
 16    herein shall not relieve a party of the necessity of making timely responses or
 17    objections to discovery requests. Entering into this Protective Order shall not be
 18    construed as a waiver of any right to object to the furnishing of documents and/or
 19    information in response to discovery based on other grounds including, without
 20    limitation, that the information sought is privileged, confidential, protected from
 21    disclosure by third-party or other privacy rights, irrelevant, burdensome, or
 22    otherwise non-discoverable or inadmissible at trial or other proceedings in this
 23    litigation.
 24                 12.3   No Other Rights Waived: This Protective Order shall not
 25    abrogate or diminish any contractual, statutory, or other legal obligation or right of
 26    any party or person with respect to any proprietary information or trade secrets. The
 27    fact that any document or information is disclosed, used, or produced in discovery
 28    or trial herein shall not be admissible evidence in any action or proceeding before
                                                 14
Case 8:20-cv-01500-SB-KES Document 54 Filed 09/18/20 Page 15 of 17 Page ID #:1796




  1    any court, agency, or tribunal on the issue of whether or not such document or
  2    information is confidential or proprietary.
  3    13.   ADDITION OF PARTIES
  4          To the extent that Counsel or parties join this action after entry of the
  5    Protective Order, such Counsel and parties shall be entitled to access Protected
  6    Material in accordance with the terms of this Protective Order upon execution of the
  7    Protective Order and, as appropriate the Acknowledgement and Agreement to Be
  8    Bound.
  9    14.   FINAL DISPOSITION
 10          Within 60 days after the final disposition of this action, as defined in paragraph
 11    4, each Receiving Party must return all Protected Material to the Producing Party or
 12    destroy such material. As used in this subdivision, “all Protected Material” includes
 13    all copies, abstracts, compilations, summaries, and any other format reproducing or
 14    capturing any of the Protected Material. Whether the Protected Material is returned or
 15    destroyed, the Receiving Party must submit a written certification to the Producing
 16    Party (and, if not the same person or entity, to the Designating Party) by the 60 day
 17    deadline that (1) identifies (by category, where appropriate) all the Protected Material
 18    that was returned or destroyed and (2) affirms that the Receiving Party has not
 19    retained any copies, abstracts, compilations, summaries or any other format
 20    reproducing or capturing any of the Protected Material including any pleadings,
 21    motion papers, trial, deposition, and hearing transcripts, legal memoranda,
 22    correspondence, deposition and trial exhibits, expert reports, attorney work product,
 23    and consultant and expert work product. Notwithstanding this provision, Outside
 24    Counsel are entitled to retain an archival copy of all pleadings, motion papers, trial,
 25    deposition, and hearing transcripts, legal memoranda, correspondence, deposition and
 26    trial exhibits, expert reports, attorney work product, and consultant and expert work
 27    //
 28    //
                                                  15
Case 8:20-cv-01500-SB-KES Document 54 Filed 09/18/20 Page 16 of 17 Page ID #:1797




  1    product, even if such materials contain Protected Material. Any such archival copies
  2    that contain or constitute Protected Material remain subject to this Order.
  3          IT IS HEREBY STIPULATED BETWEEN THE PARTIES, BY AND
  4    THROUGH THEIR COUNSEL OF RECORD.
  5

  6    DATED: September 17, 2020              HAYNES AND BOONE, LLP
  7
                                              By:     /s/Mark D. Erickson
  8                                                   Mark D. Erickson
                                                      Attorneys for Plaintiffs CoreLogic
  9                                                   Solutions, LLC and Marshall &
                                                      Swift/Boeckh, LLC
 10

 11    DATED: September 17, 2020              FREDRIKSON & BYRON, P.A.
 12
                                              By:     /s/Kurt J. Niederluecke
 13                                                   Kurt J. Niederluecke
                                                      Attorneys for Defendants Geospan
 14                                                   Corporation, Andrew Zickell, Susan
                                                      Williams, and Robert Monaco
 15

 16          Good cause appearing therefor,
 17    IT IS SO ORDERED.
 18

 19    DATED: September 18, 2020
 20                                              ____________________________________
                                                 Karen E. Scott
 21                                              United States Magistrate Judge
 22

 23

 24

 25

 26

 27

 28
                                                 16
Case 8:20-cv-01500-SB-KES Document 54 Filed 09/18/20 Page 17 of 17 Page ID #:1798




  1                                           EXHIBIT A
  2               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
  3          I, ___________________________________ [print or type full name], of
  4    ___________________________________________________________________
  5    [print or type full address], declare under penalty of perjury that I have read in its
  6    entirety and understand the Stipulated Protective Order that was issued by the United
  7    States District Court for the Central District of California on [date] in the case of
  8    CoreLogic Solutions, LLC et al v. Geospan Corporation et al., No. 8:20-cv-01500-
  9    CJC (KESx). I agree to comply with and to be bound by all the terms of this
 10    Stipulated Protective Order and I understand and acknowledge that failure to so
 11    comply could expose me to sanctions and punishment in the nature of contempt. I
 12    solemnly promise that I will not disclose in any manner any information or item that is
 13    subject to this Stipulated Protective Order to any person or entity except in strict
 14    compliance with the provisions of this Order.
 15          I further agree to submit to the jurisdiction of the United States District Court
 16    for the Central District of California for the purpose of enforcing the terms of this
 17    Stipulated Protective Order, even if such enforcement proceedings occur after
 18    termination of this action.
 19          I hereby appoint ____________________________ [print or type full name] of
 20    _____________________________________________________________________
 21    [print or type full address and telephone number] as my California agent for service of
 22    process in connection with this action or any proceedings related to enforcement of
 23    this Stipulated Protective Order.
 24    Date: __________
 25    City and State where sworn and signed: _____________________
 26    Printed name: _______________________________
 27    Signature: __________________________________
 28
                                                  17
